                       IN THE SUPREME COURT OF THE STATE OF NEVADA


                JOHN A. RITTER,                                      No. 65225
                Appellant,
                vs.
                BUILDER'S CAPITAL, INC., A
                NEVADA CORPORATION,
                Respondent.
                SOUTHWEST DESERT EQUITIES,                           No. 66268
                LLC, A NEVADA CORPORATION,
                Appellant,
                vs.
                BUILDER'S CAPITAL, INC., A
                NEVADA CORPORATION,
                                                                           FILED
                Respondent.                                                 JAN I 4 2016
                                                                        _ TRACIE Kplart■IDEMAN
                                                                       BCYLEREgF       EmE COURT

                                                                             DEPUTY CLERK



                                         ORDER OF AFFIRMANCE
                              These are consolidated appeals from a district court final
                judgment in a breach of guaranty action (Docket No. 65225) and a district
                court final judgment in a breach of contract action (Docket No. 66268).
                Eighth Judicial District Court, Clark County; Jessie Elizabeth Walsh and
                Mark R. Denton, Judges.
                              Having considered the parties' arguments and the record, we
                conclude that the reassignments that respondent executed to the members
                of the Lender's Group were effective to achieve the purpose of NRCP 17(a).
                See generally Easton Bus. Opportunities v. Town Exec. Suites,        126 Nev.
                119, 125-27, 230 P.M 827, 831-32 (2010) (observing, among other things,
                that the purpose of NRCP 17(a) "is simply to protect the defendant against




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                        a subsequent action by the party actually entitled to recover" (quotation
                        omitted)). Accordingly, we
                                   ORDER the judgments of the district court AFFIRMED. 1


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                                                                                                 J.
                                                                 Saitta



                                                                 Pickering
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                        cc: Hon. Jessie Elizabeth Walsh, District Judge
                             Hon. Mark R. Denton, District Judge
                             Robert F. Saint-Aubin, Settlement Judge
                             Reid Rubinstein Bogatz
                             Techlaw LLP
                             Marquis Aurbach Coffing
                             Eighth District Court Clerk




                              1 Becauseappellants have indicated that they "choose to abandon the
                        appeal of the Subordination Agreement-related issues," we necessarily
                        affirm the judgment against Southwest Desert Equities in Docket No.
                        66268 and the dismissal of John Ritter's counterclaims in Docket No.
                        65225.




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